          Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 1 of 21

                      THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              NORFOLK DIVISION


SYMBOLOGY INNOVATIONS, LLC,

             Plaintiff,
                                            CIVIL ACTION NO. 2:17-cv-00086
     v.

LEGO SYSTEMS, INC.

             Defendant.

                            PLAINTIFFS’ OPPOSITION TO
            LEGO SYSTEMS, INC.’s MOTION TO DISMISS PURSUANT TO F.R.C.P.
                                     12(b)(6)




                                        i
           Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 2 of 21

                                 TABLE OF CONTENTS

                                                                                  Page

I.       RELEVANT BACKGROUND ………………………………………………………..1

II.      INTRODUCTION ……………………………………………………………………...3

III.     LEGAL STANDARD ………………………………………………………………….4

IV.      ARGUMENT ………………………………………………………………………..…6

       A. Symbology’s Direct Infringement Allegations are Factually
          Supported and Plausible ……………………………………………………….……….6

         1. Accused Products Each Display a QR Code …………………………….…………7
         2. On Information & Belief, LSI’s Direct Infringement Occurs
            in the United States …………………………………………………………………7
         3. Symbology’s Representative Claim Charts Provide Sufficient
            Particularity Illustrating Symbology’s Infringement Contentions ………………….8
         4. The cases cited in LSI’s Motion to Dismiss are Inapposite to the
            Symbology’s FAC …………………………………………………………………..8


       B. Symbology’s Indirect Infringement Allegations Are Factually
          Supported and Plausible ……………………………………………….………………11
         1. Service of the Complaint Provides Knowledge of the Patent
            for Inducement …………………………………………………….………………12
         2. LSI Knowingly Induced Infringement and Had Specific Intent
            to Encourage Others to Infringe the Patents …………………………….…………13
         3. LSI’s Customers That Detected and Processed the QR Codes
            Are Direct Infringers ………………………………………………………………14
V.       CONCLUSION ………………………………………………………………………..15




                                            ii
        Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 3 of 21

                            TABLE OF CONTENTS

Cases                                                                    Page(s)

Adiscov, LLC v. Autonomy Corp.,
   762 F. Supp. 2d 826 (E.D. Va. 2011) …………………………………………………....5, 7, 9

Allergan, Inc. v. Alcon Labs., Inc.,
    324 F.3d 1322 (Fed. Cir. 2003) …………………………….…………………………….….12

Amdocs (Israel) Ltd. v. Openet Telecom, Inc.,
  841 F.3d 1288 (Fed. Cir. 2016) …………………………….……………………………..…..5

Asghari-Kamrani v. United Servs. Auto. Ass’n,
   2016 WL 1253533 (E.D. Va. 2016) ………………….………………………………….…. 10

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) …………………………………………………………………………..4

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ………………………………………………………………………..4, 5

Bonutti Skeletal Innovations, LLC v. Globus Medical, Inc.
   2015 WL 3755223 (E.D. Pa. 2015) ………………………………………………………….12

CalAmp Wireless Networks Corp. v. ORBCOMM, Inc.,
   2017 WL 536833 (E.D. Va. Feb. 9, 2017) …………………………………………………….5

CertusView Techs., LLC v. S & N Locating Servs., LLC,
   107 F. Supp. 3d 500 (E.D. Va. 2015) ……………………………………………………..…..5

Classen Immunotherapies, Inc. v. Biogen IDEC,
   2012 WL 1963412 (D. Md. 2012),
   adhered to on reconsideration, 2012 WL 3264941 (D. Md. 2012) ………………………….13

Commill USA, LLC v. Cisco Systems, Inc.,
  135 S. Ct. 1920 (2015) ……………………………………………………………………….12

DSU Med. Corp. v. JMS Co.,
  471 F.3d 1293 (Fed. Cir. 2006) …………………………………………………………..11, 12

Edwards v. City of Goldsboro,
   178 F.3d 231 (4th Cir. 1999) ………………………..…………………………………….…..5

E.I. du Pont de Nemours & Co. v. Kolon-Indus., Inc.,
    637 F.3d 435 (4th Cir. 2011) ………………………………………………………………..5-6


                                      iii
        Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 4 of 21

Global-Tech Appliances, Inc. v. SEB S.A.,
   683 U.S. 754 (2011) ………………………………………………………………...11-12, 14

In re Bill of Lading Transmission & Processing Sys. Patent Litig.,
    681 F.3d 1323 (Fed. Cir. 2012) …………………………………………………………….12

Intel Corp. v. Future Link Sys., LLC.
    2015 WL 649294 (D. Del. 2015) ……………………………………………………….10, 11

Joy Techs., Inc. v. Flakt, Inc.,
   6 F.3d 770 (Fed. Cir. 1993) ………………………………………………………………...10

Macronic Int’l Co. v. Spansion Inc.,
  4 F. Supp. 3d 797 (E.D. Va 2014) …………………………………………….…………...8-9

Memory Integrity, LLC v. Intel Corp.,
  144 F. Supp. 3d 1185 (D. Or. 2015) …………………………………………………….….12

Nat’l Fair Hous. All., Inc. v. Hunt Investments, LLC,
   2015 WL 4362864 (E.D. Va. 2015) …………………………………………………………2

Nielson Co. (US), LLC v. comScore, Inc.,
   819 F. Supp. 2d 589 (E.D. Va. 2011) …………………………………………………..….11

Orbcomm Inc. v. CalAmp Corp.,
   2016 WL 3965205 (E.D. Va. 2016)
   on reconsideration in part 2016 WL 6126941 (E.D. Va. 2016) ……………………..4-5, 9-10

Paone v. Broadcom Corp.,
   2015 WL 4988279 (E.D. N. Y. 2015) ………………………………………………….12, 14

PB & J Software, LLC v. Acronis, Inc.,
   897 F. Supp. 2d 815 (E.D. Mo. 2012) …………………………………………………..….11

Peschke Map Techs. LLC v. Pennsylvania Real Estate Inv. Trust,
   2016 WL 1031297 (E.D. Va, 2016) ………………………………………………………….5

Script Sec. Solutions, LLC v. Amazon.com, Inc.,
    170 F. Supp. 3d 928 (E.D. Tex. 2016) ………………………………………………………13

Smart Wearable Techs. Inc. v. Fitbit, Inc.,
   2017 WL 1314195 (W.D. Va April 6, 2017) ………………………………………………..13

Takeda Pharms. U.S.A., Inc. v. West Ward Pharm. Corp.,
   785 F.3d 625 (Fed. Cir. 2015) ……………………………………………………………….13



                                        iv
        Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 5 of 21

Turner v. Richmond Pub. Sch.,
   2017 WL 1179162 (E.D. Va. Mar. 28, 2017) ………………………………………….…….2

Vita-Mix Corp. v. Basic Holding, Inc.,
    581 F.3d 1317 (Fed. Cir. 2009) ………………………………………………………….11, 13

Rules

Fed. R. Civ. P. 8(a) …………………………………………………………………………..4, 5, 6

Fed. R. Civ. P. 12(b)(6) …………………………………………………………………………1, 5

Fed. R. Civ. P. 15(a)(1)(B) ………………………………………………………………………..2




                                      v
          Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 6 of 21

       Plaintiff Symbology Innovations, LLC (“Symbology”) respectfully submits this Opposition

to Defendant Lego Systems, Inc.’s (“LSI”) Motion to Dismiss Pursuant to F.R.C.P. 12(b)(6) (Dkt.

No. 16) (“LSI’s Motion to Dismiss”). For the reasons set forth herein, LSI’s Motion to Dismiss

should be denied. Alternatively, if the Court agrees with Defendant LSI that the operative

complaint is lacking in some respect, Symbology requests permission to file a Second Amended

Complaint to cure any perceived deficiencies.

   I. RELEVANT BACKGROUND

       On January 3, 2017, Symbology filed a complaint in this District alleging direct and

indirect patent infringement of 57 claims of four patents against LSI. The inventions identified in

the 57 claims of the four patents are not directed simply at placing symbology on advertisements or

packaging. Rather, the inventions of the four patents are directed to “[s]ystems and methods . . .

for enabling a portable electronic device to retrieve information about an object when the object’s

symbology, e.g., a barcode, is detected.” U.S. Patent No. 7,992,773, Dkt. No. 1, Ex. A, Abstract.

On February 9, 2017, LSI was served with a copy of the complaint, copies of each of the asserted

patents, and a representative claim chart for each of the Asserted Patents. Dkt. No. 6.

       On April 3, 2017, LSI filed its Motion to Dismiss (“LSI’s Motion to Dismiss”) (Dkt. No.

16), supporting memorandum (“LSI’s Mem.”) (Dkt. No. 17) and various exhibits. LSI’s Motion to

Dismiss was filed under Fed. R. Civ. P. 12(b)(6) for failure to state a claim for which relief can be

granted. LSI alleges that, the direct infringement allegations in Symbology’s initial complaint fails

to: (1) identify specific products (LSI’s Mem. at 1, Dkt. No. 17); (2) allege that LSI’s direct

infringement occurs in the United States (Id.); and (3) “link any accused product with the actual

elements of the Asserted Claims” (Id. at 2). LSI alleges that, the induced infringement allegations


                                                   1
           Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 7 of 21

in Symbology’s initial complaint fails to: (1) allege LSI’s knowledge of the Asserted Patents (Id.);

(2) “that LSI actively and knowingly induced another’s infringement” (Id. at 3); and (3) allege the

existence of direct infringers (Id.).

        On April 17, 2017, as a matter of course under Fed. R. Civ. P. 15(a)(1)(B), Symbology filed

its first amended complaint (“FAC”). Symbology’s FAC clarifies Symbology’s direct

infringement allegations by: (1) further identifying the accused products; (2) alleging that LSI’s

direct infringement occurs in the United States; and (3) providing additional information to link the

accused products with the representative Asserted Claims. In addition, Symbology’s FAC clarifies

Symbology’s induced infringement allegations by: (1) stating that LSI had knowledge of the

asserted patents at least as early as the service of the complaint on February 9, 2017; (2) alleging

that LSI actively and knowingly induces others to infringe the Asserted Patents; and (3) alleging

the existence of at least one direct infringer. In light of the filing of Symbology’s FAC, LSI’s

Motion to Dismiss should be denied as moot. Nat’l Fair Hous. All., Inc. v. Hunt Investments, LLC,

2015 WL 4362864, at *2 (E.D. Va. 2015) (“Those Motions to Dismiss were denied as moot after

Plaintiffs filed their Amended Complaint.”); Turner v. Richmond Pub. Sch., 2017 WL 1179162, at

*5 (E.D. Va. Mar. 28, 2017).




                                                  2
          Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 8 of 21

   II. INTRODUCTION

       LSI purposely displays Quick Response Codes (“QR Codes”) on the packaging and/or on

printed media associated with a number of LSI’s products. Any LSI product which includes QR

Codes on the packaging and/or on the associated printed media are accused products and identified

as Selected Products in both the initial Complaint and the First Amended Complaint (“FAC”).

These QR Codes did not appear on the packaging and/or associated printed media magically. The

QR Codes did not wish themselves into existence. Rather, steps were taken by LSI, or at LSI’s

request, for the QR Codes to be displayed on the packaging and/or associated printed media.

Moreover, LSI has expended, and continues to expend, resources (either time, money, etc.) on

maintaining the infrastructure necessary to ensure that when a QR Code is scanned by a portable

electronic device, relevant information is sent to, and displayed by, that portable electronic device.

LSI includes these QR Codes on the packaging of the selected products for the sole purpose of

permitting potential customers or customers to use their portable device (such as a smart phone) to

scan the QR Codes and to obtain additional information on LSI’s selected product.

       Symbology’s direct infringement claims against LSI are targeted inter alia at activities

taken by LSI and its employees to, at least, test the functionality and usefulness of the QR Codes

displayed on the packaging/print media of the selected products. A reputable company such as LSI

would never display, offer for sale, or sell products in packaging that includes QR Codes if those

QR Codes had not been tested to ensure they operate as expected, i.e., allow relevant information

to be displayed after the QR Code is detected and processed.

       Symbology’s indirect infringement claims are targeted at activities taken by LSI to induce

others to infringe the asserted claims. The only reason LSI displays the QR Codes on the

packaging/printed media of the selected products is to permit others to obtain additional

information on the Selected Products themselves. LSI encourages others to infringe the asserted
                                                  3
           Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 9 of 21

patents by: (1) displaying a QR Code on Selected Products, and (2) inviting others to scan the QR

Codes with messages such as “PLAY THE FREE LEGO CITY MY CITY GAME ONINE” in the

adjoining space next to the QR Code.

        LSI’s Motion to Dismiss (Dkt. No. 16) should be denied because: (1) it has been rendered

moot by Symbology’s filing of its First Amended Complaint, (2) the FAC includes sufficient

factual matter to state a claim that is plausible on its face, (3) the FAC gives LSI notice of the

accused products and the subject of the suit and (4) the FAC meets the pleadings requirements of

Iqbal and Twombly.

    III. LEGAL STANDARD

        Fed. R. Civ. P. 8(a) requires that a “pleading that states a claim for relief must contain: . . . a

short and plain statement of the claim showing that the pleader is entitled to relief . . .” The

Supreme Court has interpreted the pleading standard of Rule 8 not to require “detailed factual

allegations,” but to require “sufficient factual matter, accepted as true, to ‘state a claim to relief that

is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). The Supreme Court went on to hold “[a] claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. The Supreme Court stated

that the “plausibility standard” is not a “probability requirement,” but it must be “more than a sheer

possibility that a defendant has acted unlawfully.” Id. When a complaint contains “well-pleaded

factual allegations, a court should assume their veracity and then determine whether they plausibly

give rise to an entitlement to relief.” Id. at 679. “The Federal Rules of Civil Procedure requires

only a short and plain statement of the claim showing that the pleader is entitled to relief, in order

to give the defendant fair notice of what the . . . claim is and the grounds upon which it rests.”

Orbcomm Inc. v. CalAmp Corp., 2016 WL 3965205, at *2 (E.D. Va. 2016) on reconsideration in
                                                    4
         Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 10 of 21

part 2016 WL 6126941 (E.D. Va. 2016) (internal quotations omitted) (citing Twombly, 550 U.S. at

555). A complaint for patent infringement must “provide sufficient detail about the defendants and

their products such that the defendants would be on notice as to which products or services are the

subject of the suit.” Adiscov, LLC v. Autonomy Corp., 762 F. Supp. 2d 826, 832 (E.D. Va. 2011).

This “ensures that the accused infringer has sufficient knowledge of the facts to enable it to answer

the complaint and defend itself.” Peschke Map Techs. LLC v. Pennsylvania Real Estate Inv. Trust,

2016 WL 1031297, at *1 (E.D. Va. 2016) (citation omitted).

       LSI’s Motion to Dismiss (Dkt. No. 16) is based on LSI’s allegation that Symbology’s

January 3, 2017 complaint fails to state a claim upon which relief can be granted under Fed. R. Civ.

P. 12(b)(6). “A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a complaint;

importantly, it does not resolve contests surrounding the facts, the merits of a claim, or the

applicability of defenses.” CalAmp Wireless Networks Corp. v. ORBCOMM, Inc., 2017 WL

536833, at *1 (E.D. Va. Feb. 9, 2017) (citations omitted). “[A] motion to dismiss pursuant to Rule

12(b)(6) must be considered in combination with Rule 8(a)(2)[,] which requires ‘a short and plain

statement of the claim showing that the pleader is entitled to relief.’” Peschke Map Techs. 2016

WL 1031297, at *1. In ruling on LSI’s Motion to Dismiss, this Court must assume all of the

factual allegations contained in the complaint are true and the Court must draw all reasonable

factual inferences in favor of Symbology. Amdocs (Israel) Ltd. v. Openet Telecom, Inc., 841 F.3d

1288, 1293 (Fed. Cir. 2016), Edwards v. City of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999).

“Accordingly, ‘Rule 12(b)(6) does not countenance . . . dismissals based on a judge’s disbelief of a

complaint’s factual allegations.’” CertusView Techs., LLC v. S & N Locating Servs., LLC, 107 F.

Supp. 3d 500, 505 (E.D. Va. 2015) (citing Twombly, 550 U.S. at 555.)) A complaint may survive a

12(b)(6) motion even if recovery is unlikely. Id. “A court must consider ‘the complaint in its

entirety, as well as documents attached or incorporated into the complaint.’” E.I. du Pont de
                                                  5
          Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 11 of 21

Nemours & Co. v. Kolon-Indus., Inc., 637 F.3d 435, 448 (4th Cir. 2011).

    IV. ARGUMENT

        Simply stated, the direct and indirect infringement claims included in Symbology’s First

Amended Complaint are supported by sufficient factual matter, that when accepted as true, state a

claim for direct and indirect patent infringement which is plausible on its face. First, in light of

Symbology’s filing of a First Amended Complaint, this Court should deny LSI’s Motion to

Dismiss as moot. Second, even if this Court considers LSI’s Motion to Dismiss, which it

shouldn’t, this Court should still deny LSI’s Motion to Dismiss (Dkt. No. 16) because Symbology’s

First Amended Complaint meets the requirements of Fed. R. Civ. P. 8(a) and clearly provides LSI

with notice of the accused products and Symbology’s infringement allegations.

        A. Symbology’s Direct Infringement Allegations are Factually Supported and
           Plausible

        As previously stated, the inventions of the four patents are directed to “[s]ystems and

methods . . . for enabling a portable electronic device to retrieve information about an object when

the object’s symbology, . . . is detected.” U.S. Patent No. 7,992,773, Dkt. No. 1, Exhibit A,

Abstract. Contrary to LSI’s argument, Symbology is not accusing LSI of direct infringement of the

asserted claims for “plac[ing] QR codes on unidentified products in a manner that is somehow

alleged to infringe the Asserted Claim.” LSI’s Mem. at 5, Dkt. No. 17. Rather, Symbology is

accusing LSI of direct infringement of the asserted claims for using a portable electronic device to

retrieve information about an object in accordance with the asserted claims when the object’s

symbology [a QR Code] is detected. On information and belief, LSI practices the asserted method

claims when scanning the QR Codes on selected products for testing the QR Codes such as at its

retail stores in Virginia.




                                                   6
         Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 12 of 21

           1. Accused Products Each Display a QR Code

       Symbology has clearly identified each of the accused products (Selected Products)

as products which display a QR Code on its packaging and/or its associated printed media.

Symbology’s FAC, ¶ 30, Dkt. No. 22. This identification clearly defines “a general class of

products”. Adiscov, 762 F. Supp. at 831 (“In particular, the court found that the ‘[p]laintiffs

were obligated to specify, at a minimum, a general class of products or a general

identification of the infringing methods.’”) (emphasis added) (citation omitted). If the

packaging and/or its associated print media displays a QR code, the product is included in

the definition of “selected product” and the product is accused of infringement. If neither

the product’s packaging nor its associated print media displays a QR Code, the product is

not included in the definition of “selected product” and the product is not accused of

infringement. Examples of selected products include, but are not limited to, LEGO city

model number 60130 Prison Island and LEGO City mode 60110 Fire Station.

           2. On Information & Belief, LSI’s Direct Infringement Occurs in the United States

       Symbology’s FAC includes allegations, made on information and belief, that LSI

employees in Connecticut and/or Virginia have (or have arranged for others) tested, detected, and

processed QR Codes imprinted on LSI’s advertisements and/or packaging and viewed the

subsequently displayed information. Symbology’s FAC, ¶ 39, Dkt. No. 22. In addition,

Symbology’s FAC includes allegations, made on information and belief, that employees at LSI’s

three retail stores in Virginia have tested, detected, and processed QR Codes imprinted on LSI’s

advertisements and/or packaging. Id. at ¶ 40. Accordingly, on information and belief, Symbology

believes that LSI has directly infringed the asserted claims in the United States.



                                                  7
         Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 13 of 21

           3. Symbology’s Representative Claim Charts Provide Sufficient Particularity
              Illustrating Symbology’s Infringement Contentions

       To date, Symbology has not had the opportunity to obtain discovery from LSI in order to

identify the types of portable electronic devices, (and the software contained therein) that LSI has

used to detect and process QR Codes1 thereby directly infringing the asserted claims. This

information is only available to LSI (or its agents), and unavailable to Symbology until discovery

has begun. Until that specific information is obtained from LSI, Symbology has generated claim

charts based on well-known and widely-used third party software which is used to detect and

process QR Codes. Symbology’s FAC, Exs. A, B, C, D, Dkt. No. 22-1, 22-2,22-3, 22-4. The

information contained in the claim charts included with the initial complaint and the FAC are based

on detecting symbology included in the QR Code displayed on one of LSI’s Selected Products,

processing that symbology as described in each of the representative claims, and displaying the

cumulative information on a display device that is associated with the portable electronic device

used to detect the symbology initially. On information and belief, any portable electronic device

used by LSI in its internal testing would detect and process the symbology in the same way

although the LSI device may use software from a different third-party to detect and process the

symbology.

           4. The cases cited in LSI’s Motion to Dismiss are Inapposite to the Symbology’s FAC.

       While LSI attempts to argue that “Courts in this District have dismissed similar

complaints for similar failures” (LSI’s Memo. at 6, Dkt. No. 17), not one of the cases

referenced by LSI has the same factual pattern as is currently before this Court.

       In Macronic Int’l Co. v. Spansion Inc., the District Court in Richmond ordered
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  Symbology reserves the right to disagree with LSI’s generalization of the invention contained on
pages 9-13 of LSI’s Mem. (Dkt. No. 17) as necessary at a later time in this lawsuit. This lawsuit
involves 57 asserted claims spread out between four different patents.
                                                 8
          Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 14 of 21

Macronic Int’l Co. to identify the asserted claims specifically, and the elements infringed,

and how the product infringes those elements in its First Amended Complaint. 4 F. Supp.

3d 797, 799 (E.D. Va 2014). That court found that: (1) the plaintiff failed to allege what

was literally infringed and infringed under the Doctrine of Equivalents, (2) the plaintiff

failed to allege how the accused products practice the asserted claims, and (3) the First

Amended Complaint merely parroted back the claim language. Id. at 804. Macronic’s

First Amended Complaint did not include numerous claim charts as was included in both

the Initial Complaint and the FAC in this case. In its operative complaint, Symbology

clearly identifies which accused products literally infringe the asserted patents, provided

claim charts which show how the accused products practice the asserted claims, and the

FAC links the claims with the accused products rather than merely parroting back the claim

language. Despite these numerous failings in Macronic’s First Amended Complaint, that

court gave the plaintiff leave to file a Second Amended Complaint (as opposed to

dismissing the complaint outright). Id. at 804.

        In Adiscov,, this Court found that Adiscov failed: (1) to identify the specific accused product

or service; (2) to show how the patent-in-suit was infringed, and (3) meet the plausibility test. 762

F. Supp. 2d 826, 830 (E.D. Va. 2011). Adiscov’s First Amended Complaint did not include

numerous claim charts as was included in both the Initial Complaint and the FAC in this

case. Symbology’s operative pleading specifically identifies the accused products, how the

asserted claims are infringed by the accused products and Symbology’s complaint and exhibits

meet the plausibility test.

        In Orbcomm, the District Court in Richmond held that Orbcomm’s compliant meet the

requirements of Fed. R. Civ. P. 8(a) because it: (1) specifically identified the claims asserted
                                                  9
          Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 15 of 21

directly, indirectly, contributorily, and induced; (2) specified the accused products; (3) compared

the accused systems to the claims and (4) demonstrated a plausible entitlement to relief. 2016 WL

3965205, at *8, (E.D. Va. 2016). In that case, the court held that “[p]atent litigation involves

complex subject matter. This Court is not convinced that the level of granular particularity

suggested by CalAmp [claim charts] is necessary to survive initial Rule 12(b)(6) scrutiny. Id.

While claim charts are not required to meet Rule 8(a), Symbology has included representative

claims charts in both its Initial Complaint and its FAC. In other words, Symbology included

everything that the Orbcomm did, and in addition, Symbology included claim charts detailing

Symbology’ infringement contentions.

       In Asghari-Kamrani v. United Servs. Auto. Ass’n, this Court held that the plaintiff failed to:

(1) link features of the accused websites with the patent, (2) sufficiently identify “how each

allegedly infringing feature of the [accused] website infringes the patent, and (3) the accused

websites infringe each of the asserted claims. 2016 WL 1253533, *3-*4 (E.D. Va. 2016). ).

Symbology included representative claims charts in both its Initial Complaint and the FAC in

this case to ensure the link between the accused products and the representative claims was clearly

identified. None of the deficiencies identified by the Asghari-Kamrani court are present in the

matter at bar.

       Finally, LSI misconstrues the holding in Intel Corp. v. Future Link Sys., LLC. Dkt. No. 17,

at 11. Note 11 of this decision states “[u]nlike with a product claim, making or selling a product

that is capable of infringing does not infringe a method claim.” 2015 WL 649294, *7, n.11 (D. Del.

2015) (citing Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 773 (Fed. Cir. 1993)). LSI attempts to use

this note to support its pronouncement that “[a]ttaching a QR Code to product packaging is not

enough.” Apparently, LSI is attempting to argue that attaching a QR Code to product packaging is

not enough to infringe the asserted claims in this case. Symbology’s direct infringement
                                                  10
         Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 16 of 21

allegations are not however based on LSI’s inclusion of the QR Code on the packages of the

selected products. Rather, Symbology’s direct infringement allegations are based on LSI

practicing of each element of the asserted claims when LSI detects and processes the symbology

contained within the QR Code on LSI’s Selected Products. As the Intel Corp. Court correctly

stated “[u]nlike with the ‘arrangement’ claims, only if Intel itself performed every step of these

three method claims would Intel be responsible for direct infringement of the claims.” Id., at *7.

Similarly, since LSI performs every step of, for example, the asserted method claims, LSI is

responsible for direct infringement of the asserted method claims.

       B. Symbology’s Indirect Infringement Allegations Are Factually Supported and
       Plausible

       35 U.S.C. § 271(b) states that “[w]hoever actively induces infringement of a patent shall be

liable as an infringer.” “Inducement [generally] requires a showing that the alleged inducer knew

of the patent, knowingly induced the infringing acts, and possessed a specific intent to encourage

another’s infringement of the patent.” Vita-Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1328

(Fed. Cir. 2009) (citing DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1304 (Fed. Cir. 2006) (en

banc in relevant part). “The Federal Circuit requires that complaints for induced infringement

‘contain facts plausibly showing that [defendants] specifically intended [others] to infringe the

[patent-in-suit] and knew that [others’] acts constituted infringement.” PB & J Software, LLC v.

Acronis, Inc., 897 F. Supp. 2d 815, 820-21 (E.D. Mo. 2012) (alternations in original). In addition,

inducement requires the plaintiff plead the direct infringement by another party. Nielson Co. (US),

LLC v. comScore, Inc., 819 F. Supp. 2d 589, 593 (E.D. Va. 2011).

       However, other courts have questioned the “knowingly” requirement for induced

infringement. Some courts have found that “willful blindness” is sufficient. For example, relying

on the Supreme Court’s decisions in Global-Tech Appliances, Inc. v. SEB S.A., (683 U.S. 754


                                                  11
            Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 17 of 21

(2011)) and Commill USA, LLC v. Cisco Systems, Inc., (135 S. Ct. 1920 (2015)) the Bonutti

Skeletal Innovations, LLC v. Globus Medical Inc. court held, that a claim for induced infringement

requires:

       (1) with knowledge of or willful blindness to the existence of the patent-in-suit; (2)
       the defendant engaged in affirmative acts to induce (e.g., by persuading, leading, or
       influencing) a third party to perform acts that; (3) the defendant knew constituted
       infringement of the patent-in-suit (or was willfully blind to that fact); (4) with the
       specific intent to cause such infringement; and which (5) resulted in the third party
       directly infringing the patent-at-issue.

2015 WL 3755223, at *5 (E.D. Pa. 2015) (emphasis added) . Accordingly, pleading “willful

blindness” rather than “knowingly” is sufficient to support a claim for induced infringement.

       Other courts have held that inducement may be found when the defendant “should know”

(rather than know) that his actions will induce infringement. Allergan, Inc. v. Alcon Labs., Inc.,

324 F.3d 1322, 1336 (Fed. Cir. 2003).

       Specific intent to encourage another’s infringement of the patent required for a claim of

inducement may be inferred, for examaple by general statements in advertisements. Memory

Integrity, LLC v. Intel Corp., 144 F. Supp. 3d 1185, 1194 (D. Or. 2015). Alternatively, continuing

to sell an allegedly infringing product, after obtaining knowledge of the existence of the patent also

gives rise to an inference of a specific intent in the pleadings stage of a case. See, Paone v.

Broadcom Corp., 2015 WL 4988279, at *13 (E.D. N. Y. 2015). Specific intent may be coupled

with action. DSU Medical Corp., v. JMS Co., Ltd., 471 F.3d 1293, 1305 (Fed. Cir. 2006). Finally,

the facts must be considered in the context of how they occurred in order to determine if it is

reasonable to infer intent from statements or conduct. In re Bill of Lading Transmission &

Processing Sys. Patent Litig., 681 F.3d 1323, 1340 (Fed. Cir. 2012).

             1. Service of the Complaint Provides Knowledge of the Patent for Inducement

       LSI misleadingly argues that “Symbology does not allege, nor could it, that LSI either had


                                                  12
         Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 18 of 21

knowledge of the Asserted Patents or has the requisite specific intent to actively aid and abet

another’s infringement.” LSI’s Mem. at 14, Dkt. No. 17. Symbology does not need to allege that

LSI knew of the asserted patents prior to the filing of this lawsuit. Rather, knowledge of the patent

through service of the complaint is sufficient to support a claim of induced infringement. Smart

Wearable Techs. Inc. v. Fitbit, Inc., 2017 WL 1314195, at *2 (W.D. Va April 6, 2017), see Script

Sec. Solutions, LLC v. Amazon.com, Inc., 170 F. Supp. 3d 928, 937 (E.D. Tex. 2016) (collecting

cases). When this occurs, induced infringement begins on the date the complaint was served on the

Defendant. Id. In its initial complaint, Symbology specifically stated that Defendant LSI had

knowledge of its infringement of the asserted patents (and hence of the patents) at least as of the

service of the compliant. Complaint, ¶¶ 31, 49, 67, and 85, Dkt. No. 1 (emphasis added).

Symbology stated similar facts in its First Amended Complaint. Symbology’s FAC, ¶¶ 43, 59,

68, 84, 93, 109, 118, 134, Dkt. No. 22.

           2. LSI Knowingly Induced Infringement and Had Specific Intent to Encourage Others
           to Infringe the Patents

       “Specific intent requires ‘that the alleged infringer’s actions induced infringing acts and that

he knew or should have known his actions would induce actual infringement.” Classen

Immunotherapies, Inc. v. Biogen IDEC, 2012 WL 1963412, at *9 (D. Md. 2012), adhered to on

reconsideration, 2012 WL 3264941 (D. Md. 2012). Specific intent to induce infringement may be

through circumstantial evidence. Vita-Mix Corp., 581 F.3d at 1328. Inducement can be found

where the defendant takes steps to encourage direct infringement. Takeda Pharms. U.S.A., Inc. v.

West Ward Pharm. Corp., 785 F.3d 625, 631 (Fed. Cir. 2015).

       In this case, LSI induced others to infringe the asserted patents by: (1) displaying the QR

Code on the packaging and/or printed media associated with the Selected Products, and/or (2)

including an invitation to anyone that saw the packaging of the Selected Products to “PLAY THE

                                                 13
          Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 19 of 21

FREE LEGO CITY MY CITY GAME ONLINE” which is displayed in close proximity to the QR

Code on the packaging of, at least, some of the Selected Product. Displaying the phrase “PLAY

THE FREE LEGO CITY MY CITY GAME ONLINE” illustrates action taken by LSI to induce

infringement. In addition, Defendant LSI’s continued selling of the allegedly infringing product,

after being served with the complaint in this matter, also gives rise to an inference of a specific

intent at this stage in the case. See, Paone, 2015 WL 4988279, at *13. Symbology’s FAC, ¶¶

55-57, 80-82, 105-107, 130-132Dkt. No. 22.

       Moreover, LSI knew of the patents at least as early as February 9, 2017, when LSI was

served with the complaint, copies of the asserted patents, and representative claim charts clearly

addressing direct infringement of representative examples of the asserted claims. Despite LSI’s

receipt and possession of this material, LSI continued displaying, offering for sale, and selling,

Selected Products which displayed the QR Codes. In addition, LSI continued to maintain the

infrastructure for third parties to access information when the QR codes were detected and

processed by the third parties. By continuing to display, offer for sale, sell, and maintain the

associated infrastructure, LSI knowingly induced infringement and had the specific intent to

encourage others to infringe the patent. At the very least, once LSI received the compliant, copies

of the patents and the claim charts, LSI was willfully blind that it induced infringement and

encourage others to infringe the asserted patents. The Supreme Court has held that “a willfully

blind defendant is one who that takes deliberate actions to avoid confirming a high probability of

wrongdoing and who can almost be said to have actually know the critical facts.” Global-Tech

Appliances, 563 U.S. at 769. Each of these factors also indicates that LSI knowingly induced

infringement of the asserted patents.

           3. LSI’s Customers That Detected and Processed the QR Codes Are Direct Infringers

       LSI argues that Symbology has failed to allege that a third party directly infringes the
                                                  14
         Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 20 of 21

Asserted Patents. LSI’s Mem. at 14, Dkt. No. 17. Symbology’s FAC specifically adds a John Doe

defendant who directly infringes the asserted claims by using a portable electronic device to detect

and process a QR Code displayed on Selected Products and to view the resulting cumulative

information. Symbology’s FAC, ¶¶ 53, 78, 103, 128, Dkt. No. 22.


   V. CONCLUSION

       For the reasons identified above, this Court should flatly deny LSI’s Motion to Dismiss.

Alternatively, if this Court holds that any of the allegations contained in LSI’s Motion to Dismiss

has merit, this Court should permit Symbology to file a Second Amended Complaint to correct any

perceived deficiencies identified by the Court.

       DATED April 17, 2017.                           Respectfully submitted,


                                                       By: /s/ Steven War
                                                       Steven War (VSB # 45048)

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                                                  15
         Case 3:17-cv-01641-JBA Document 20 Filed 04/17/17 Page 21 of 21

                                   CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on April 17, 2017, I have caused a true and

correct copy of the foregoing to be electronically filed with the Clerk of the District Court using the

CM/ECF system, which will send notifications of such filing to all counsel of record.

Dated: April 17, 2017                                  By: /s/ Steven War

                                                       Steven War




                                                  16
